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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

    ULTRAVISION TECHNOLOGIES, LLC,                      Case No. 2:19-cv-00291-JRG-RSP
                                                        (LEAD CASE)
                               Plaintiff,
                                                        JURY TRIAL DEMANDED
                   v.

    HOLOPHANE EUROPE LIMITED,
    ACUITY BRANDS LIGHTING DE
    MEXICO S DE RL DE CV, HOLOPHANE,
    S.A. DE C.V., AND ARIZONA (TIANJIN)
    ELECTRONICS PRODUCTS TRADE CO.,
    LTD.,

                               Defendants.

    ULTRAVISION TECHNOLOGIES, LLC,                      Case No. 2:19-cv-00398-JRG-RSP
                                                        (CONSOLIDATED CASE)
                               Plaintiff,
                                                        JURY TRIAL DEMANDED
                   v.

    YAHAM OPTOELECTRONICS CO., LTD.,

                               Defendant.

   PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S NOTICE OF COMPLIANCE

         Pursuant to the Court’s First Amended Docket Control Order (Dkt. 110), Plaintiff

  Ultravision Technologies, LLC (“Ultravision”) hereby provides notice that it served its

  Objections to Holophane Europe Limited, Acuity Brands Lighting De Mexico S. de R.L. de

  C.V., and Arizona (Tianjin) Electronics Products Trade Co., Ltd.’s (collectively, “Defendants”)

  Initial Trial Exhibit List, Witness List, and Deposition Designations by serving Defendants’

  counsel of record on January 5, 2021, via electronic mail.
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  Dated: January 6, 2021                    Respectfully submitted

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 6, 2021, a true and correct copy of the above and

  foregoing document has been served by email on all counsel of record.


                                               /s/ Alfred R. Fabricant
                                                  Alfred R. Fabricant
